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LRCrP 16.1 Form (06/08/2017)

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION

UNITED STATES OF AMERICA

Vv. Criminal No. 2:21-cr-00092

JAMES GIPSON

ENTERED

ARRAIGNMENT ORDER AND JUN 1 7 Mel
STANDARD DISCOVERY REQUESTS

RORY L. PERRY Ii, CLERK
U.S. District Court
Southem District of West Virginia

I. ARRAIGNMENT ORDER

[Defendant present] At Huntington, WV ,on June 17 ,20 21 ,came
the United States of America by Kristin Scott , Assistant United States
Attorney, and also came the defendant in person, and by __X__ court-appointed retained
counsel, Timothy J. LaFon , for the purpose of an arraignment.

After the Court interrogated the defendant and was satisfied that the defendant had received
a copy of the indictment, and had read and understood the contents thereof, and that his/her attorney
had explained the nature of the charges to him/her, the defendant entered a voluntary plea of NOT
GUILTY to the indictment.

[Defendant not present] At ,on , 20 ,came
the United States of America by , Assistant United States
Attorney, and also came court-appointed

retained counsel for the defendant, who had previously waived his/her right to be present at
the arraignment, which waiver was accepted. A NOT GUILTY plea to the indictment was entered
for the defendant, pursuant to the waiver.

IT IS ORDERED that this case be set for trial to a jury at 8:30 a.m. on
August 24 , 20 21 , in Charleston, WV , before the Honorable
Robert C.Chambers

IT IS FURTHER ORDERED that if any courtroom technology is required for use at trial
or other proceeding, counsel shall notify the court’s technology staff. A certification that the court’s
technology staff has been notified shall be filed with the clerk no later than 7 days before the
scheduled commencement of the trial or other proceeding.

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IT IS FURTHER ORDERED that a pretrial hearing on motions in this case be held on

August 9 , 20 21 , at 3:30 a.m. xX p.m. in

Huntington, WV . Pursuant to Rule 12.1(d) of the Local Rules of Criminal Procedure for

the Southern District of West Virginia, counsel must notify the presiding judge whether either party

will seek to present evidence at the pretrial hearing on motions. Further, counsel must immediately

notify the presiding judge if agreement has been reached on all pretrial issues, rendering the pretrial
hearing on motions unnecessary.

IT IS FURTHER ORDERED that if Standard Discovery Requests are elected, then pretrial
motions are due on or before July 26 , 20 21 _, with copies provided to the
presiding judge’s chambers. Proposed Voir Dire Questions and Jury Instructions are due to the
presiding judge on or before August 17 ,20 21

On or before August 17 ,20 21, counsel is requested to provide a list of
prospective witnesses to chambers for use in voir; such list need not be served on opposing counsel.

The defendant did execute / did not execute a waiver of right to be present at
hearings on motions prior to trial.

With respect to a defendant represented by court-appointed counsel, IT IS FURTHER
ORDERED that the defendant is given the right to subpoena witnesses to testify in this case on the
date of trial, and the costs incurred by the process and fees of the witnesses so subpoenaed be paid
in the same manner in which similar costs and fees are paid in the case of witnesses so subpoenaed
on behalf of the government.

Il. CUSTODIAL/NON-CUSTODIAL STATUS
(Check applicable sections)

A. The defendant was previously ordered detained pending trial.

B. The government has moved for a detention hearing, and the Court hereby ORDERS
that a detention hearing be held on ,20 , at
The defendant is remanded to the temporary custody of the United States Marshal pending the
detention hearing.

C. The defendant was previously released on a surety non-surety bond in
the amount of $ with special conditions as set forth in the Order Setting
Conditions of Release, and it is ORDERED that said bond and Order shall continue.

D. The defendant is hereby ORDERED released upon execution of a surety
non-surety bond in the amount of $ , as set forth in the Order Setting
Conditions of Release.

E. The defendant is hereby ORDERED detained as set forth in the Detention Order.

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Ill. STANDARD DISCOVERY REQUEST FORM
(Initial “A” or “B”)

A. The defendant has elected to utilize the Standard Discovery Requests, as set forth
in Rule 16.1 of the Local Rules of Criminal Procedure for the Southern District of West Virginia.

B. The defendant has elected NOT to utilize the Standard Discovery Requests, as set
forth in Rule 12.1 of the Local Rules of Criminal Procedure for the Southern District of West
Virginia. Accordingly, the defendant is hereby ORDERED to file all pretrial motions together with
supporting memoranda fourteen (14) days before the hearing on pretrial motions, not later than

, 20 , and to provide copies to the presiding judge’s chambers.
Responses shall be filed within seven (7) days, not later than , 20 ;
with copies provided to the presiding judge’s chambers.

Whereupon, the following Standard Discovery Requests were made:

1. On Behalf of the Defendant, the Government Is Requested to:
(defense counsel must initial all applicable sections)

WL a. Disclose to defendant the substance of any relevant oral statement made by the
defendant, before or after arrest, in response to interrogation by a person the defendant knew was a
government agent if the government intends to use the statement at trial. [F.R.Crim.P. 16(a)(1)(A)].

155» [Individual defendant] Disclose to defendant and make available for inspection,
copying or photographing, all of the following: (I) any relevant written or recorded statement by the

defendant if the statement is within the government’s possession, custody, or control; and the attorney
for the government knows--or through due diligence could know--that the statement exists; (ii) the
portion of any written record containing the substance of any relevant oral statement made before
or after arrest if the defendant made the statement in response to interrogation by a person the
defendant knew was a government agent; and (iii) the defendant’s recorded testimony before a grand
jury relating to the charged offense. [F.R.Crim.P. 16(a)(1)(B)].

c. [Organization defendant] Where the defendant is an organization, e.g., corporation,
partnership, association or labor union, disclose to the defendant any statement described in
F.R.Crim.P. 16(a)(1)(A) and (B), if the government contends that the person making the statement
(I) was legally able to bind the defendant regarding the subject of the statement because of that
person’s position as the defendant’s director, officer, employee, or agent; or (ii) was personally
involved in the alleged conduct constituting the offense and was legally able to bind the defendant
regarding that conduct because of that person’s position as the defendant’s director, officer,
employee, or agent. [F.R.Crim.P. 16(a)(1)(C)].

Wa. Furnish the defendant with a copy of the defendant’s prior criminal record that is
within the government’s possession, custody, or control if the attorney for the government knows--or
through due diligence could know--that the record exists. [F.R.Crim.P. 16(a)(1)(D)].
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Us \L’.. Permit the defendant to inspect and to copy or photograph books, papers, documents,
data, photographs, tangible objects, buildings or places, or copies or portions of any of these items,
if the item is within the government’s possession, custody, or control, and (1) the item is material to
preparing the defense; (ii) the government intends to use the item in its case in chief at trial; or (iii)
the item was obtained from or belongs to the defendant. [F.R.Crim.P. 16(a)(1)(B)].

Lh VY f. Permit the defendant to inspect and to copy or photograph the results or reports of
any physical or mental examination and of any scientific test or experiment if (I) the item is within
the government’s possession, custody or control; (ii) the attorney for the government knows--or
through due diligence could know--that the item exists; and (iii) the item is material to preparing the
defense or the government intends to use the item in its case-in-chief at trial. [F.R.Crim.P.

16(a)(1)(F)].

OO g. Give to the defendant a written summary of any testimony that the government
intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief
at trial. If the government requests discovery under Federal Rules of Criminal Procedure
16(b)(1)(C)(ii) and the defendant complies, the government must, at the defendant’s request, give to
the defendant a written summary of testimony that the government intends to use under Rules 702,
703, or 705 of the Federal Rules of Evidence as evidence at trial on the issue of the defendant’s
mental condition. The summary provided must describe the witness’s opinions, the bases and reasons
for those opinions, and the witness’s qualifications. [F.R.Crim.P. 16(a)(1)(G)].

iF 5 > h. Disclose to defendant all evidence favorable to defendant, including impeachment
evidence, and allow defendant to inspect, copy or photograph such evidence.

vf SDV I, Notify defendant of all evidence the government intends to introduce pursuant to Rule
404(b) of the Federal Rules of Evidence.

j. Disclose to defendant all reports of government “mail cover”, insofar as the same
affects the government’s case against the defendant or any alleged aiders and abettors or co-
conspirators.

v
Y GZ k. Disclose to defendant any matter as to which the government will seek judicial notice.

Pu 1, Disclose to defendant and make available for inspection, copying or photographing,
the results of any interception of a wire, oral or electronic communication in the possession, custody
or control of the government, the existence of which is known, or by the exercise of due diligence
could become known, to the attorney for the government, which contains any relevant statement
made by the defendant or which is material to the preparation of the defendant’s defense or which
is intended for use by the government as evidence in its case-in-chief at the trial. For each such
interception, disclose (i) any application for an order authorizing the interception of a wire or oral
communication, (ii) any affidavits filed in support thereof, and (iii) any court order authorizing such
interception.
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VY m. Provide notice to defendant of the government’s intention to use evidence pursuant
to Rule 12(b)(4)(B) of the Federal Rules of Criminal Procedure.

2s Government Responses to Defendant’s Standard Discovery Requests.
(initial line)

n/
V Pursuant to Local Rule 16.1(C) , the Government hereby agrees to provide the
materials to the defendant not later than fourteen (14) days from the date of this Order, or as
otherwise agreed by the parties, or ordered by the Court.

Further, the government must file a written response to the defendant’s standard discovery
requests with the Clerk within the time frame set forth above.

3 Reciprocal Discovery and Filing of Additional Motions by Defendant.

Pursuant to Local Rule 16.1, the defendant shall provide to the Government any required
reciprocal discovery within fourteen (14) days of receipt of the requested materials and filing of the
government’s written response to the defendant’s discovery requests.

4, Continuing Duty of Disclosure.

The defendant and the government agree that their respective duties of disclosure and
discovery pursuant to this order are continuing, and that they shall produce additional responsive
information as soon as it is received, and in no event later than the time for such disclosure as
required by law, rule of criminal procedure, or order of court.

IV. DISCLOSURE OF JENCKS ACT, RULE 26.2 MATERIALS; AND REQUEST FOR
JURY QUESTIONNAIRES
(government and defense counsel initial and fill in lines)

Vou. The defendant and the government agree that all Jencks Act and Rule 26.2,
F.R.Crim.P., material will be furnished to opposing counsel 5 days prior to any hearing, trial,
or other event triggering the required disclosure of such material.

i § e B. The defendant and the government request that the jury questionnaires answered by
the petit jurors on the current panel called in this case be made available to each party for inspection

and copyingy which motion is GRANTED by the Court.
45 V__C. The defendant agrees that all material provided by the government which is subject

to the provisions of Rule 6(e) of the F.R.Crim.P. will be used only in the preparation of the defense
and will not be copied or published to any person whose knowledge of the same is not necessary to
the preparation of the defense and, further, that upon request, all copies of the same will be returned
to the government or destroyed at the close of the case.
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The Clerk of this Court is directed to send a copy of this Order to the defendant, counsel of
record, the United States Marshal and the United States Probation Office.

Nf y"
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UNITED STATES ve JUDGE

Inspected and Approved by:

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f d¢fendant

Assistant United States Attorney
